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                                                U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278

                                                     March 31, 2024

VIA ECF AND EMAIL
The Honorable Analisa Torres
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:     United States v. Kwok, et al., S2 23 Cr. 118 (AT)

Dear Judge Torres:

        The Government respectfully writes in response to defendant Yanping Wang’s letter
motion regarding Rule 16 discovery (see Dkt. 253) and to request that the Court set a mutual
pretrial disclosure schedule in advance of the trial beginning May 20, 2024. In her motion, Wang
requests that the Court (1) set a deadline of April 10, 2024 for the Government to complete Rule
16 discovery, (2) issue orders regarding delivery of discovery to the Metropolitan Detention Center
(“MDC”), and (3) order that victim-provided communications with the defendants and victim-
provided photographs not be designated Attorneys’ Eyes Only (“AEO”).

       This letter addresses Wang’s requests and the broader issues they raise, which are as
follows: First, the Court should order a comprehensive and mutual pretrial disclosure schedule,
including for Rule 16 discovery. Second, the Court should permit the use of tailored AEO
procedures to protect victim witnesses in this matter, prevent the obstruction of justice, and
preserve the integrity of this criminal trial. Third, there is no need for the Court to order the
Government to provide hard drives to the MDC, as the Government has already been doing so
upon the defendants’ request.

I.     Pretrial Disclosure Schedule

       The Court should set a comprehensive and mutual pretrial disclosure schedule in advance
of the May 20 trial. In particular, and for the reasons explained below, the Court should set the
following schedule 1:




1
  The Court has already set the following pretrial dates. Motions in limine and joint requests to
charge, proposed voir dire, and a proposed verdict form are due April 9, 2024. Oppositions to in
limine motions are due April 16, 2024. In addition, the Court has scheduled a suppression hearing
for April 9, 2024, and a final pretrial conference for May 14, 2024.
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       •   By April 1, both parties provide expert disclosures (excluding Mandarin language
           experts, to allow the parties an opportunity to attempt to reach stipulations on
           translations). 2

       •   By April 10, the Government completes production of Rule 16 discovery in its
           possession, with materials that would identify victim-witnesses designated AEO, as
           described in Section II, infra.

       •   By April 20, the defendants provide notice of any advice-of-counsel, reliance on
           counsel, or presence of counsel defense, if any.

       •   By April 22, the defendants complete production of Rule 16 discovery in their
           possession.

       •   By April 30, the Government discloses exhibits, with a limited set of exhibits that
           would identify victim-witnesses designated AEO, as described in Section II, infra.

       •   By May 6, the Government provides 3500 material and its witness list, with victim-
           witness identities remaining AEO (as described in Section II, infra). 3

       •   By May 10, the defendants disclose defense exhibits and defense witness lists.

       •   By May 13, the defendants provide Rule 26.2 materials for their witnesses.

A proposed order with the foregoing dates is attached as Exhibit A.

        As background, the Government has been attempting to reach agreement on a mutual
pretrial disclosure schedule with the defendants. To the Government’s understanding, the parties
have agreed on at least certain matters. First, the parties agreed, with respect to the joint requests
to charge, voir dire, and verdict form, that the Government would provide its proposed filings by
March 27, 2024 (which the Government has done), and the defendants would provide their
responses to the Government by April 3, 2024, so the parties can file a joint submission by the
April 9, 2024 deadline. The parties also agreed to a mutual disclosure of expert witnesses by April
1, 2024 (except Mandarin language translators). However, the parties have been unable to reach
agreement on the remaining deadlines, and thus the Government respectfully requests that the
Court enter an order setting the above deadlines. The defendants, in particular, have resisted
setting deadlines for (a) production of the defendants’ Rule 16 discovery, despite the defendants’
2
  During meet-and-confers concerning the pretrial disclosure schedule, the parties agreed to an
April 1 expert disclosure date and the exemption of language translators from that notice so that
the parties can attempt to reach agreement concerning language translations. On March 27, 2024
the Government requested written confirmation of that agreement, which the defendants have not
yet provided.
3
 The Government remains amenable to discussing earlier § 3500 disclosure with defense counsel.
See Dkt. 243 at 8 (“[t]he Government is under no obligation . . . to produce prior statements of its
witnesses until after each has testified on direct examination.” (citation omitted)).
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reciprocal discovery obligations pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure
no later than April 20.

        Rule 16 entitles the Government to reciprocal discovery. Rule 16(b) provides, in relevant
part, that if a criminal defendant requests disclosure from the Government under Rule 16(a)(1),
the defendant must also permit the Government to inspect any document or record that the
defendant “intends to use . . . in the defendant’s case-in-chief at trial.” Fed. R. Crim. P.
16(b)(1)(A).

        At the time of the Government’s first discovery production on May 5, 2023, which was the
day after the protective order was entered, the Government requested, in writing, reciprocal
disclosures from the defendants pursuant to Rule 16(b). The Government has not received even a
single file of reciprocal Rule 16 materials from the defendants—despite the fact that the defendants
have stated their intention to put on a defense case lasting up two weeks, and despite the fact that
the defendants have apparently issued numerous subpoenas of their own to third parties. While
the Government has learned from some third parties that the defendants have issued subpoenas,
the scope of the materials produced in response to the defendants’ subpoenas—and, more broadly,
the scope of the potential Rule 16 material in the possession of the defendants in general—is
unknown to the Government It may be that the defendants are in possession of a considerable
volume of material that they are withholding, despite the Government having repeatedly requested
such materials over the past eleven months.

       When a defendant “avail[s] himself of the strategy to obtain discovery of the government,
he must comply with the requirement for reciprocal discovery.” United States v. Ryan, 448 F.
Supp. 810, 810-11 (S.D.N.Y. 1978), aff’d, 594 F.2d 853, 811 (2d Cir.); see Fed. R. Crim. P. 16
Advisory Committee Note—1974 Amend. (“The majority of the Advisory Committee is of the
view that . . . the giving a broader right of discovery to the defense is dependent upon giving also
a broader right of discovery to the prosecution.”).

        Courts in this District and elsewhere routinely require defendants to produce Rule 16(b)
materials before defendants have made decisions about the scope of any defense case, let alone
whether a particular piece of evidence will be offered at trial. Although “[a] defendant would
always like more information about the government’s case before revealing anything about his or
her own,” Rule 16 “conditions a defendant’s disclosure obligations on the government’s having
made certain specified disclosures, not on the government’s laying open its entire case or the
defendant’s satisfaction.” United States v. Rajaratnam, No. 09 Cr. 1184 (RJH), 2011 WL 723530,
at *5 (S.D.N.Y. Feb. 25, 2011). Indeed, in ordering pre-trial disclosure of defense Rule 16
materials, this Court has previously made clear that, while defendants may “delay the decision as
to whether or not to testify until the end of the presentation of the Government’s case, ‘the trial
strategy determination is not so protected.’” United States v. Shea, No. 20 Cr. 412 (AT), Doc. 206,
at 1 (quoting United States v. Ryan, 448 F. Supp. 810, 811 (S.D.N.Y. 1978), aff’d, 594 F.2d 853,
811 (2d Cir. 1978)); see also, e.g., United States v. Ortega, No. 22 Cr. 91 (RA), Doc. 93, at 2
(“Should Defendant fail to produce material subject to his disclosure obligations under Rule 16,
he will be precluded from using such evidence during his case-in-chief.”); United States v.
Avenatti, No. 19 Cr. 374 (JMF), Dkt. No. 213 (S.D.N.Y. Jan. 7, 2022) (requiring defense
production under Rule 16 to begin approximately two weeks before trial, over the defendant’s
objection); United States v. Maxwell, No. 20 Cr. 330 (AJN), Dkt. No. 297 (S.D.N.Y. June 2, 2021)
(setting a defense Rule 16 deadline of three weeks before trial, over the defendant’s objection);
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United States v. Jasper, No. 00 Cr. 825 (PKL), 2003 WL 223212, at *4 (S.D.N.Y. Jan. 21, 2003)
(explaining that “[a]llowing [the] defendant to defer the provision of such discovery until a final
determination regarding whether or not [to] put an expert witness on the stand would seem to
frustrate” the goal of allowing the government a fair opportunity to prepare); see generally United
States v. Weiss, 930 F.2d 185, 199 (2d Cir. 1991) (affirming preclusion of evidence defendant had
failed to produce and explaining that permitting defendant to use documents the prosecution had
not timely seen “would have given the defense an unfair advantage”). 5

       Accordingly, in light of well-settled law, the defendants’ collection of Rule 16 material
through the use of their own subpoenas, and the defendants’ stated intention to put on a lengthy
defense case, the Court should order the defendants to produce Rule 16(b) material approximately
four weeks in advance of trial, i.e., by April 22.




5
  This reciprocal obligation applies to defense exhibits as well. Consistent with Rule 16(b), courts
in this District regularly require disclosure of defense exhibits in advance of trial, including over
a defendant’s objection. See, e.g., Ortega, No. 22 Cr. 91 (RA), Doc. 93 (S.D.N.Y. Jan. 10, 2023)
(approximately one week before trial); United States v. Shah, No. 19 Cr. 833 (SHS), Doc. 583, at
7-8 (S.D.N.Y. July 5, 2022) (11 days before trial over objection); United States v. Melzer, No. 20
Cr. 314 (GHW), Doc. 131 (S.D.N.Y. Jun. 16, 2022) (11 days before trial over objection); United
States v. Liu, No. 19 Cr. 804 (VEC), Doc. 177 (S.D.N.Y. Feb. 28, 2022) (12 days before trial over
objection); United States v. Gillier, No. 11 Cr. 409 (PAE), Doc. 75 (S.D.N.Y. Feb. 1, 2022)
(approximately three weeks before trial); United States v. Avenatti, No. 19 Cr. 374 (JMF), Doc.
213 (S.D.N.Y. Jan. 7, 2022) (approximately two weeks before trial over objection); United States
v. Maxwell, No. 20 Cr. 330 (AJN), Doc. 297 (S.D.N.Y. June 2, 2021) (three weeks before trial
over objection); United States v. Shea, No. 20 Cr. 412 (AT), Doc. 206 (S.D.N.Y. May 4, 2022) (14
days before trial over objection); United States v. Brennerman, No. 17 Cr. 337 (RJS), Doc. 24
(S.D.N.Y. Aug. 3, 2017) (18 days before trial); United States v. Percoco, No. 16 Cr. 776 (VEC),
Doc. 396 (S.D.N.Y. Dec. 15, 2017) (more than a month before trial over objection); United States
v. Grant, No. 16 Cr. 468 (GHW), Doc. 283 (S.D.N.Y. May 21, 2018) (three weeks before trial);
United States v. Calk, No. 19 Cr. 366 (LGS), Doc. 180 (S.D.N.Y. Mar. 25, 2021) (six weeks before
trial); id. Doc. 262, at 341 (S.D.N.Y. Jun. 29, 2021) (mid-trial order to defense to produce any
unmarked exhibits for cross-examination at least one business day in advance of testimony);
United States v. Madonna, No. 17 Cr. 89 (CS), Doc. 655 (S.D.N.Y. Mar. 1, 2019) (approximately
one month before trial); United States v. Stewart, No. 15 Cr. 287 (LTS), Minute Entry (S.D.N.Y.
Jan. 29, 2016) (18 days before trial); United States v. Ulbricht, No. 14 Cr. 68 (KBF), Doc. 93
(S.D.N.Y. Oct. 17, 2014) (approximately one month before trial). The disclosure deadline should
apply to any exhibits the defense intends to introduce at trial—including on cross examination for
non-impeachment purposes. “The term ‘case-in-chief’ has been interpreted to encompass ‘all non-
impeachment exhibits they intend to use in their defense at trial, whether the exhibits will be
introduced through a government witness or a witness called by a defendant.’” Melzer, No. 20 Cr.
314 (GHW), Doc. 150, at 13 (quoting United States v. Napout, No. 15 Cr. 252 (PKC), 2017 WL
6375729, at *7 (E.D.N.Y. Dec. 12, 2017)). “Nearly every court to consider the issue has concluded
the same.” United States v. Crowder, 325 F. Supp. 3d 131, 136 (D.D.C. 2018) (collecting cases).
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       B. Notice of Advice-of-Counsel Defense

        The Government respectfully requests that the Court order the defendants to provide notice
of any advice-of-counsel defense they may seek to offer at trial. In December 2023, the
Government sent a letter to the defense requesting that the defendants provide such notice. Despite
meeting and conferring, and attempting to reach a comprise on this issue, the defendants have thus
far declined to provide any notice, or even to provide a date by which they will do so. The
Government therefore requests that the Court order disclosure by April 20, which is one month
before trial. The Court’s order should require the defendants to provide (a) written notice of the
contours—including identifying specific attorneys involved, the advice those attorneys provided,
and any discovery concerning the foregoing that the defendants will rely upon at trial—of any
advice-of-counsel defense or good faith defense based on the involvement of attorneys that Kwok
and/or Wang will raise at trial, and (b) all documents (including attorney-client and attorney work
product documents) that support or might impeach or undermine any such defense.

           1. Applicable Law

         “In a fraud case . . . the advice-of-counsel defense is not an affirmative defense that defeats
liability even if the jury accepts the government’s allegations as true,” but rather “is evidence that,
if believed, can raise a reasonable doubt in the minds of the jurors about whether the government
has proved the required element of the offense that the defendant had an ‘unlawful intent.’” United
States v. Scully, 877 F.3d 464, 476 (2d Cir. 2017). “That said, defendants are entitled to an advice-
of-counsel instruction only if there are sufficient facts in the record to support the defense.” Scully,
877 F.3d at 476 (citing United States v. Evangelista, 122 F.3d 112, 117 (2d Cir. 1997)).
Specifically, “[t]here must be evidence such that a reasonable juror could find that the defendant
‘honestly and in good faith sought the advice of counsel,’ ‘fully and honestly laid all the facts
before his counsel,’ and ‘in good faith and honestly followed counsel’s advice.’” Id. (quoting
United States v. Colasuonno, 697 F.3d 164, 181 (2d Cir. 2012)).

        Thus, where a defendant seeks to admit evidence of the involvement of attorneys, whether
as a formal advice of counsel defense, or to show good faith, he must provide the Government
with sufficient notice and disclosures ahead of trial. See, e.g., United States v. Schulte, No. 17 Cr.
548 (PAC), 2020 WL 133620, at *6 (S.D.N.Y. Jan. 13, 2020) (requiring advanced advice of
counsel disclosure); United States v. Scali, No. 16 Cr. 466 (NSR), 2018 WL 461441, at *8
(S.D.N.Y. Jan. 18, 2018) (defendant should have made pertinent disclosures in advance of trial);
United States v. Rubin/Chambers, Dunhill, 828 F. Supp. 2d 698, 711 (S.D.N.Y. 2011) (requiring
notification to the Government of advice-of-counsel defense sufficiently before pre-trial
conference to permit litigation over disputes).

        Such notice and discovery are necessary because by invoking an advice of counsel and/or
good faith defense that relies upon the involvement of counsel, the defendant typically impliedly
waives associated attorney-client and/or work product privileges. United States v. Bilzerian, 926
F.2d 1285, 1292 (2d Cir. 1991). Pretrial notice is therefore necessary to conduct discovery into
potentially privileged areas, obviating the need for considerable delay during trial. A defendant’s
“conversations with counsel regarding the legality of his schemes” are “directly relevant in
determining the extent of his knowledge and, as a result, his intent.” Id. Because conversations
with counsel can reveal an absence of good faith or advice of counsel, “the attorney-client privilege
cannot at once be used as a shield and a sword.” Id. In other words, to assess whether a defendant
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truly acted in good faith, it becomes necessary to understand his communications with his attorney:
did he fully and honestly lay out all the facts; did the attorney provide him information that would
leave him to believe he was not acting lawfully; did he in good faith and honestly follow counsels’
advice? For that reason, once a defendant raises a good faith or advice of counsel defense, “any
communications or evidence defendants intend to use to establish the defense are subject to
disclosure” as is “otherwise-privileged communications that defendants do not intend to use at
trial, but that are relevant to proving or undermining the advice-of-counsel defense.” United States
v. Crowder, 325 F. Supp. 3d 131, 138 (D.D.C. 2018). Further complicating and necessitating early
resolution, where the attorney-client privilege is likely controlled by a corporation, the Court may
need to resolve whether the defendant can rely on evidence that is protected by a company’s
privilege. See United States v. Milton, 626 F. Supp. 3d 694, 702-03 (S.D.N.Y. 2022) (denying the
defendant’s constitutional claim that “privileged communications become discoverable simply
because a defendant wishes to use those communications in his defense”).

           2. Discussion

          The Court should order the defendants to provide adequate advice-of-counsel notice in
advance of trial to ensure an efficient trial free from delays, avoid unfair prejudice to the
Government, to allow appropriate pretrial discovery of relevant attorneys, and to permit the Court
to resolve any attendant disputes between the parties. See, e.g., Schulte, 2020 WL 133620, at *6
(requiring disclosure concerning advice of counsel 19 days before trial); Scali, 2018 WL 461441,
at *8 (ordering notice and related discovery two weeks ahead of trial where defendant had already
notice his intention to rely on the defense); Rubin/Chambers, Dunhill, 828 F. Supp. 2d 698, 711
(S.D.N.Y. 2011) (ordering notice three weeks ahead of trial). Sufficiently advanced notice is
particularly important in this case, where Kwok has claimed to be represented by, or to have had
privileged communications with, at least 39 different law firms (some with numerous individual
attorneys) or individuals (including Kwok’s co-defendant Yanping Wang, in her capacity as a
translator), and Wang has claimed to have been represented by, or to have had privileged
communications with, at least 26 different law firms (some likewise with multiple individual
attorneys). See Ex. B (list of Kwok’s attorneys provided on April 27, 2023, by his counsel for the
purpose of privilege screens on seized electronic devices), Ex. C (list of Wang’s attorneys provided
on May 31, 2023, by her former counsel for the same purpose). The simple fact that the defendants
may seek to rely on the advice of dozens of attorneys, from dozens of different law firms, makes
this case unusual, and one that is susceptible to inefficiencies and delay absent reasonable notice.
Indeed, the parties may have legal disputes about discovery connected to any legal advice, and the
extent to which the defendants waived privilege, among other things. It may take time for the
Court to resolve those issues. Sufficient advance notice of any defense that depends upon legal
advice or the presence of lawyers is therefore required, lest the trial be prolonged beyond its current
six-to-eight-week estimate—inconveniencing jurors and wasting judicial resources. Accordingly,
the Court should order the defendants to provide notice of any advice-of-counsel defense and to
produce any accompanying documents, and to do so no later than April 20 (i.e., one month before
trial), to account for the large number of attorneys and law firms at issue.

II.    Procedures to Protect Victim Witnesses

       Like the Court, the Government owes duties to victims of crimes. See 18 U.S.C.
§ 3771(a)(1), (a)(8) & (b)(1) (providing, under the Crime Victims’ Rights Act, that the court “shall
ensure that [] crime victim[s] [are] afforded” their rights, including the right “to be treated with
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fairness and with respect for the victim’s dignity and privacy.”). Chief among the Government’s
responsibilities is ensuring the safety of victims who seek redress from federal authorities and
provide evidence and testimony regarding how they were harmed. And the Government, like the
Court, also must ensure that criminal defendants are prevented from obstructing justice by
intimidating or threatening potential witnesses, particularly witnesses who are crime victims and
have already been victimized by defendants. Cf. United States v. Blackshear, 313 F. App’x 338,
343 (2d Cir. 2008) (summary order) (affirming decision to empanel anonymous jury where
defendant had “consistently attempted to obstruct justice,” including by “intimidating witnesses,”
even where “none of [defendant’s] prior incidents involved jurors”).

         In this case, the obligation to prevent schemes to obstruct justice by threatening, harassing,
and intimidating potential victim witnesses—to scare them from testifying—is particularly acute
in light of the defendants’ past obstructive conduct and their continuation of criminal conduct even
while detained, as explained below. Accordingly, and for the reasons explained in further detail
below, the Court should order the following procedures, which are incorporated into the proposed
order attached as Exhibit A, to protect potential victim-witnesses:

       •   Rule 16: Pursuant to the Protective Order the Government will continue to designate
           “Attorneys’ Eyes Only,” materials that would identify potential victims.

       •   Exhibits: The Government will provide its proposed trial exhibits to defendants on
           April 30, with only a limited set of exhibits that would identify victim-witnesses
           designated AEO. The AEO designation will be lifted four days prior to the introduction
           of any so-designated exhibit at trial.

       •   3500: The Government will provide such material by May 6, with victim-witness
           identities and associated 3500 materials designated AEO. The AEO designation will
           be lifted four days prior to the testimony of any victim-witness. 6

       A. The Defendants’ Obstructive Conduct

           1. Kwok

        This Court has already found by clear and convincing evidence that Kwok “will not abide
by court orders.” Dkt. 51 at 12. That finding aligns with those of other courts that likewise “have
previously found that [Kwok] engaged in obstructive behavior . . . and fail[ed] to obey court
orders.” Dkt. 51 at 8, 12. Along with defying court orders, Kwok has a history of harassment,
threats, and violence directed at his critics and victims that is of paramount concern in considering
the protection of victims who will testify at trial. Even before he was detained, Kwok had a
practice of relying on his agents—including his followers and individuals who work at entities he
controls—to subject those critics and victims to harassment. This Court has previously recounted



6
 While the Government has no obligation to produce § 3500 material in advance of trial, as is
common, it will do so here sufficiently in advance of trial to ensure an efficient trial. See United
States v. Coppa, 267 F.3d 132, 145 (2d Cir. 2001) (The “Jencks Act prohibits a District Court from
ordering the pretrial disclosure of witness statements.”).
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many instances in which Kwok engaged in such obstructive behavior. See Dkt. 51 at 9. By way
of example:

       •   In November 2020, an anti-CCP activist (“Activist-1”) filed suit against Kwok, alleging
           that Kwok has led a campaign of harassment and threats against him. Kwok called for
           actual violence and encouraged hundreds of thousands of followers to protest outside
           Activist-1’s home, offering tens of thousands of dollars in cash and securities for
           anyone who succeeded in “getting rid of” Activist-1. On November 25, 2020, two of
           the protesters physically assaulted one of Activist-1’s friends by repeatedly kicking the
           friend in the head and neck as he lay on the pavement outside Activist-1’s home. As
           has been publicly reported, the friend suffered a facial fracture and swollen-shut eyes,
           and lost a tooth. 7

       •   One particular individual who worked with Kwok in connection with the GTV Private
           Placement (before cutting ties with Kwok) expressed on social media that Kwok misled
           and defrauded his followers. Kwok responded by publicly branding that person as a
           “Demon” and a CCP spy. A Kwok-controlled Farm subsequently sued that person,
           who now lives in fear and in hiding as a result of Kwok’s public threats. In particular,
           and as Kwok well knew, branding that person as a CCP spy has had the effect of turning
           Kwok’s thousands of followers against that person subjecting them to harassment,
           lawsuits, and threats of violence.

       •   Kwok has also threatened victims who have sought reimbursements or complained
           about his fraud. Several victims have informed the Government that, after complaining
           to Kwok about their investments in his offerings, he branded them CCP spies,
           sometimes in social media or video posts, placing them directly in the crosshairs of
           Kwok’s followers.

       •   Many victims that the Government has interviewed remain deeply afraid of Kwok.
           They are reasonably scared that if Kwok learns they are communicating with the
           Government, he will brand them CCP spies and mobilize his army of followers against
           them. One victim who spoke with the Government preemptively moved residences
           due to such fears.

        In addition to threatening his critics and his victims, Kwok has a long and well-documented
history of obstructing justice in other ways, as this Court has already recognized. See Dkt. 216 at
9 (“Witness tampering is but one flavor of obstruction, and the Government presents unrebutted
evidence that Kwok has engaged in many others.”); id. at 8 (“[Kwok’s] promises to ‘not undertake
such actions again,’ standing alone, do not assuage the Court’s concerns that Kwok is likely to
continue his pattern of obstruction if released”). By way of example:

       •   The bankruptcy court appointed a trustee (the “Trustee”) to manage Kwok’s financial
           affairs and to obtain assets for disbursement to Kwok’s creditors. Displeased with the
           Trustee’s actions, Kwok mobilized his supporters to harass the Trustee. For example,

7
  See https://bc.ctvnews.ca/video-shows-activist-beaten-kicked-amid-unusual-protest-outside-b-
c-journalist-s-home-1.5206591.
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              as described below, Kwok fomented protests and anger directed toward the bankruptcy
              trustee, which obstructed the bankruptcy process. On November 23, 2022, to thwart
              the harassment, the Trustee sought—and was granted—a temporary restraining order.
              But that did not deter Kwok from further obstructive actions.

          •   “On November 20, 2022, the @NFSCSpeaks account posted a statement identifying
              the Chapter 11 Trustee’s daughters and stating their father is aiding and abetting the
              CCP. The post also contained photographs of the Chapter 11 Trustee and his daughters
              and identified where they work. The @Miles account reposted this @NFSCSpeaks
              post on its Gettr page.” (In re: Ho Wan Kwok, et al., Chapter 11 Case No. 22-50073
              (JAM) (Bankr. D. Conn. Jan. 11, 2023). at 22 (citations omitted).)

          •   “On November 20, 2022, protests occurred directly in front of the Chapter 11 Trustee’s
              home. The protesters held signs that were, for the most part, targeted directly at the
              Chapter 11 Trustee.” Id. at 23.

          •   In a video posted on social media, while protesting outside Paul Hastings, an individual
              associated with Kwok’s entities stated “[t]o everyone at Paul Hastings . . . Millions of
              People that have been persecuted by the CCP with curse you, will curse your family,
              curse every single person in your life because there is blood on your hands” and “the
              people of the New Federal State of China, 500 million of us . . . we stand against Paul
              Hastings, and we stand against O’Melveny. 8 There is no going back, there is no
              recourse. You have committed a crime, and now you’re going to suffer the
              consequences of your actions.” Id. at 24-25.

          •   “On November 25, 2022, the Chapter 11 Trustee received a series of emails at his work
              email from [an] unknown ProtonMail [an encrypted email service] email address with
              consecutive subject lines, ‘I wish’ and ‘i kill.’ The ‘I wish’ email had the body text
              ‘hhhhhhhhhahahahaha.’ The ‘i kill’ email had no body text.” Id. at 25.

          •   On November 26, 2022, an unknown caller left a voicemail for the Trustee stating “you
              are CCP’s running dog. You need to go to Hell. You just did something so ridiculous
              and your end is so close. F-U-C-K.” Id. at 27.

          •   Two days after a preliminary injunction was issued that ordered Kwok to stop further
              interference with the bankruptcy proceedings, on January 11, 2023, on his Gettr page,
              Kwok encouraged his followers to flood the bankruptcy docket with claims (regardless
              of their merit). By so doing, Kwok sought to force the Trustee to incur unnecessary




8
    O’Melveny represents an entity that has sued Kwok, which entity is also one of Kwok’s creditors.
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             costs and expense as well as obstruct the proceedings. 9 On January 23, 2023, Kwok
             posted a video on Gettr in which he encouraged more of the same, and revealed that
             the purpose of the filings was to obstruct the bankruptcy court and cause unnecessary
             expenses for the Trustee. Kwok stated, “All of you go to the bankruptcy court . . . Let
             the attorney’s fees of trustee accumulate to 1 trillion if possible. . . . Think about it,
             $1,860 an hour as the attorney’s fees. How much attorney fees is it after you all
             registered? How good is that!”

In short, Kwok used his followers and the entities he controls (through his followers, among others)
to harass and obstruct the bankruptcy proceedings.

       Kwok’s harassment of others has extended to this case as well. Kwok-controlled social
media accounts, including his Gettr account, branded two of the undersigned AUSAs in this case
as CCP-aligned operatives. 10

             2. Wang

        While perhaps less prolific and well-documented, Wang has engaged in obstructive
conduct in connection with court proceedings. For example, the Government has recovered chats
from Wang’s devices relating to the suborning of perjury. In particular, in a series of Signal voice
messages sent to Kwok’s daughter, Wang coached Kwok’s daughter on how to claim to attorneys,
falsely, that Kwok’s yacht belonged to her—a perjurious claim that Kwok’s daughter later repeated
under oath in court proceedings. See Exs. D-G (translations of Signal messages between Wang
and Kwok’s daughter that were recovered from one of Wang’s devices). Equally disturbing, as
evidenced in recorded conversations with individuals within the Kwok Enterprise, Wang—while
in custody, following her arrest in this case—used her prior counsel to ferry her request to retrieve
bank checks consisting of millions of dollars of G|CLUBS funds, i.e., fraud proceeds, that were in
a postal box in New York City. On top of misusing attorneys, this conduct reflects how Wang and
Kwok use others to accomplish improper ends and to continue to operate their racketeering
enterprise, even while inside the MDC.

         Finally, the Government expects the evidence at trial will show that, while detained and
while their calls are recorded by the MDC, the defendants have been having attorney meetings
with a co-conspirator who is a licensed attorney—not any criminal counsel of record—and using
that attorney to ferry messages between the defendants and the Kwok Enterprise. 11



9
 See https://gettr.com/post/p24ybdca10b (last accessed March 14, 2023) (“Greetings, esteemed
comrades. Paul Hastings Law Firm is launching a campaign to register creditors! If there are
comrades who are not strong-willed, feeling their own investments and past investments, have no
sense of security and need to be a debtor, and if you think it is a better choice, you must contact
Paul Hastings Law Firm to register in the Bankruptcy Court of Connecticut as soon as possible,
and maybe you can become a billionaire.”)
10
     See https://gettr.com/post/p2cy7sycdbf.
11
  Notably, this same attorney’s associate emailed the Government directly and requested a copy
of all its discovery.
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        B. Continued and Tailored AEO Protections Are Appropriate

        As one measure to ensure the safety and availability of its witnesses and preserve the
integrity of this criminal trial, while balancing these interests with the defense’s right to prepare a
defense, the Government has generally designated the significant volume of victim-provided Rule
16 discovery in this case as AEO. The Protective Order in this case, which was entered without
any objection, provides:

        Certain of the Government’s disclosure material, referred to herein as “Attorneys’
        Eyes Only Material,” contains highly confidential and highly sensitive material that
        affects the privacy, confidentiality, and/or safety interests of individuals or entities,
        such that its disclosure could cause substantial harm and/or pose safety concerns to
        individuals or entities, including but not limited to: information related to victims
        subject to harassment . . . .

Dkt. 63 ¶ 4. Given the defendants’ obstructive conduct, and their continuation of the scheme from
prison, the Government’s AEO designations are appropriate. Nonetheless, in view of the fact that
the defendants defrauded and manipulated thousands of different individuals for a period of several
years, the Government recognizes that victim-provided materials are not insignificant.
Accordingly, the Government is willing to make accommodations to the defense and designate a
substantial volume of such materials “Highly Confidential,” so long as those accommodations will
not jeopardize the integrity of these proceedings, victim safety, or the ability of victim witnesses
to testify without harassment, intimidation, or threats.

         By that measure, Wang’s request that all “communications (whether written or recorded)
involving the defendants” and all photographs of the defendants be deemed “Highly Confidential”
falls short. Dkt. 253 at 3. Wang misunderstands the sensitivity of the victim-provided materials:
it is not their content that is highly sensitive, but their potential to identify the individuals who have
provided the materials to the Government. Communications and photographs may do exactly that.
Granting Wang’s blanket request would identify certain victim-witnesses to the defendants nearly
two months before trial and lead to an extended campaign of harassment, intimidation, and threats
against those victim-witnesses. These are not idle concerns. Just as this Court is familiar with the
defendants’ egregious track record of obstructive conduct, so too are the defendants’ victims.
Nearly every victim the Government has spoken with has expressed his or her genuine fears of the
defendants’ harassment and retaliation. Cf. United States v. Kandic, No. 17 Cr. 449 (NGG), 2021
WL 5505832, at *4 (E.D.N.Y. Nov. 24, 2021) (“Reasonable jurors, when assessing the allegations
that Defendant used social media to promote ISIS, could fear that their identities could be disclosed
online, exposing them to threats from individuals who are not directly associated with
Defendant.”). Accordingly, Wang’s requests must be denied in order to protect victims and
preserve the integrity of the forthcoming trial.

        Further, because these same concerns are presented by disclosure to the defendants of
victim-identifying Government exhibits and 3500 material, it is appropriate for the Government to
designate AEO the exhibits and 3500 material that would identify victim witnesses until four days
prior to that victim-witness’s testimony. These types of procedures have been employed in
criminal cases in this District to protect witnesses and prevent obstruction. See, e.g., United States
v. Jones, 21 Cr. 505 (ER), Dkt. 50 (3500 protective order including AEO designation, which was
used for cooperating witnesses and civilian witnesses until a date closer to trial); United States v.
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Bilal, 19 Cr. 565 (JPO), Dkt. 52 (same); United States v. Garcia, 21 Cr. 412 (JSR), Dkt. 101
(certain 3500 material AEO until one week prior to trial). While this case does not involve drug
trafficking, it is a racketeering case involving defendants who have gone to great lengths to
intimidate, harass, and threaten—and at times physically harm—those who speak out against them.
And the defendants maintain many devoted followers who have attempted to obstruct justice in
past proceedings and will likely seek to do so again in this case, where their leader faces the
potential of conviction and a lengthy jail sentence. That is, the defendants and their associates
have obstructed justice and threatened others when they faced merely civil consequences. Here,
the defendants face criminal consequences, and these higher stakes manifestly increase the
likelihood of obstructive conduct as the trial date approaches.

III.   MDC Discovery

         Finally, Wang requests that the Court “order the government to hand-deliver all recent
productions and any subsequent productions to the appropriate officials at MDC Brooklyn for
prompt delivery to the defendants.” (Dkt. 253 at 2). No such order is necessary. The Government
has been accommodating the defense’s requests to delivery discovery to the MDC, as the record
in this case makes clear, and will continue to do so in the lead up to trial.

         Wang was arrested on March 15, 2023 and ordered detained pending trial. Several rounds
of motions for reconsideration followed; this Court affirmed Wang’s pretrial detention on April
21, 2023, finding that Wang poses a serious risk of flight and that no conditions can reasonably
assure her attendance at future court proceedings. Dkt. 56. This Court also ordered co-defendant
Ho Wan Kwok detained pending trial, in light of his dangerousness to the community, risk of
flight, and risk of obstruction, on April 20, 2023. Dkt. 51. During a pretrial conference on June
9, 2023, the Court orally granted defendants’ motion requesting access to laptops at the Brooklyn
Metropolitan Detention Center to facilitate their review of discovery and other case materials. That
same day, the Government contacted legal staff at Brooklyn MDC to advise them of the Court’s
order and to determine how to make arrangements to deliver laptops to the defendants. The Court
entered the parties’ joint proposed laptop order on June 13, 2023. Dkt. 86.

         On or about July 14, 2023, Wang’s then-counsel sent a laptop (the “Wang Laptop”) to the
Government to be loaded with discovery materials designated as Confidential pursuant to the
Protective Order (i.e., materials Wang was authorized to maintain at Brooklyn MDC). On July
22, 2023, Emil Bove filed a notice of appearance on behalf of Wang in this matter, indicating that
he intended to substitute in as Wang’s counsel; the next day, the Government informed the Court
that it intended to move to disqualify Bove, and subsequently filed a motion for disqualification.
On August 11, 2023, while that disqualification motion was pending, Bove contacted the
Government regarding the status of the Wang Laptop and confirmed that Bove and his firm would
not access discovery or discuss discovery with Wang pending resolution of the disqualification
motion. Later that day, the Government informed Bove that it was loading the Wang Laptop with
discovery materials and would deliver the Wang Laptop to Brooklyn MDC.

        On August 20, 2023, the Government confirmed that the Wang Laptop (which had been
loaded with certain Confidential discovery materials) had been delivered to Wang at Brooklyn
MDC. The Government advised Bove that it required a 10 TB hard drive for additional
Confidential materials that were too large to be loaded onto the Wang Laptop, and gave Bove the
specifications for an MDC-compatible hard drive on September 7, 2023. Bove provided a hard
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drive to the Government, which the Government loaded with the additional Confidential discovery
materials and delivered to the MDC in October 2023. Bove withdrew as Wang’s counsel on
October 27, 2023. Brendan Quigley, Wang’s current counsel, filed a notice of appearance on
November 6, 2023.

        During a call on February 20, 2024, Quigley asked the Government to send Wang the
Confidential discovery that the Government had produced since in or about October 2023. 12 On
February 23, 2024, the Government provided counsel with Brooklyn MDC’s specifications for
inmate hard drives. The Government received a hard drive from Quigley on February 27, 2024
and, in the ensuing days, loaded that drive with the requested discovery materials. On March 10,
2024, the Government advised Quigley that the drive would be delivered to Wang at the Brooklyn
MDC the next day. On March 11, 2024, the Government arranged for hand-delivery of the drive
to Brooklyn MDC and received a receipt confirming delivery, which was signed by a Brooklyn
MDC staff member and dated March 11, 2024.

        On Saturday, March 23, 2024, Quigley emailed the Government (copying in MDC Legal)
to advise that the drive apparently had not yet been delivered to Wang. This was the first time the
Government had learned that the drive delivered to Brooklyn MDC on March 11, 2024 had not
been received by Wang. The Government responded to Quigley in just over an hour and the same
day emailed MDC Legal staff to inquire into the status of the drive. On March 25, 2024, MDC
Legal advised that they had no record of having received the drive. The Government provided a
copy of the delivery receipt (which, as set forth above, reflected that a Brooklyn MDC staff
member had signed to confirm receipt of the drive on March 11, 2024). Later, on March 25, 2024,
MDC Legal staff advised the Government that it was unable to locate the drive, and requested that
the Government send a replacement drive. The next day, on March 26, 2024, the Government
downloaded the discovery to a new drive (aside from cellphone extractions, which were too large
to copy to the drive) and arranged for hand-delivery of the new drive to Brooklyn MDC on March
27, 2024. MDC Legal staff confirmed that the new drive arrived at Brooklyn MDC on March 27,
2024 (i.e., the day before Wang filed her motion), and provided a letter that Wang signed on March
28, 2024, confirming receipt of the drive, and further confirming that she was able to access the
contents of the new drive. In summary, every time defense counsel asked the undersigned to assist
in delivering discovery to the defendants, the Government has promptly responded and assisted.

        Accordingly, there is no need for the Court to order the Government to provide discovery
to the MDC, as it has already been doing so and will continue to do so, and Wang’s motion should
be denied.




12
  The Government made approximately five discovery productions to Wang’s and Kwok’s
counsel between December 2023 and February 2024.
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IV.    Conclusion

       For the reasons set forth above, the Court should order the mutual pretrial disclosure
schedule, attached as Exhibit A; and permit the use of tailored procedures to protect victim
witnesses in this matter.


                                                 Respectfully submitted,

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